Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 1 of 26 PageID #: 69


LAW OFFICES OF SIMON HARTER, ESQ.
Simon Harter, Esq. (SH-8540)
225 West 34th Street – 9th Floor
New York, New York 10122
Tel: (212) 979-0250
Fax: (212) 979-0251
Email: sharter@harterlaw.com
Attorneys for Plaintiff,
CADDELL DRY DOCK AND REPAIR CO., INC.


                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------x
CADDELL DRY DOCK AND REPAIR CO, INC.,                              :
                                                                   :
                                             Plaintiff,            :
                                                                   :   CASE NO.
- against –                                                        :   1:20-cv-00685 (EK-LB)
                                                                   :
BOUCHARD TRANSPORTATION CO., INC.,                                 :
in personam, BARGE B. NO. 280, in rem, and                         :
B. NO. 280 CORP., in personam,                                     :
                                                                   :
                                             Defendants.           :
-------------------------------------------------------------------x

                            DECLARATION OF SIMON HARTER, ESQ.

                 I, Simon Harter, Esq., attorney for Plaintiff /Substitute Custodian, CADDELL

 DRY DOCK AND REPAIR CO., INC. (“Plaintiff”), respectfully submit this declaration in

 support of Plaintiff’s Ex Parte Motion for an Order Deputizing Steven P. Kalil to Act in

 Lieu of U.S. Marshal in Serving Warrant of Arrest of Barge B. No. 280. Pursuant to 28

 U.S.C. §1746, I declare as follows:

              1. I am a member of the Bar of this Honorable Court and have been practicing

                   maritime law for 33 years. During the course of my practice, I have been

                   involved in numerous vessel arrest actions. I submit this Declaration from

                   my personal knowledge, except as to the information below regarding
Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 2 of 26 PageID #: 70


             Defendant, BOUCHARD TRANSPORATION CO., INC., which I obtained

             from court records, U.S. Coast Guard notices, and media reports.

          2. Plaintiff brings this action to seek recovery of $928,516.50 in unpaid repairs,

             cleaning, dockage, and other services provided to Defendant, BARGE N.

             NO. 280, in rem (“Barge”). See Verified Complaint [Docket No. 1].

          3. For the reasons which follow, Plaintiff respectfully requests that this Court

             issue an order deputizing Steven P. Kalil, President of Plaintiff, for the sole

             purpose of serving the Warrant to Seize A Vessel issued in this matter on

             February 13, 2020 [Docket No. 13] (“Warrant”).

                                      PROCEDURAL HISTORY

          4. On February 13, 2020, this Court entered an Order Authorizing Issuance of

             Warrant of Vessel Arrest [Docket No. 11] for the Defendant, BARGE B. NO.

             280, in rem (“Barge”).

          5. In accordance with the Order, the Clerk of Court issued the Warrant,

             referenced above, directing the U.S. Marshals Office to arrest the Barge.

          6. On the same date, this Court issued a further Order Appointing Plaintiff as

             Substitute Custodian [Docket No. 12], whereby upon arrest of the Barge by

             the US Marshals Service, Plaintiff would assume responsibility for the care

             and custody of the Barge for the period the Barge remains under arrest.

          7. The following day, February 14, 2020, I attended at the US Marshals

             Service’s offices to submit the necessary paperwork for the Marshall to arrest

             the Vessel. When I asked about the required deposit, I was told by the person

             assisting me that neither he nor anyone else then present would be able to
                                            2
Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 3 of 26 PageID #: 71


             advise me of the required deposit.        He explained that Ms. Minerva

             Maldonado, the individual in the Marshals office who coordinates vessel

             arrests and who could tell me the required amount, would not be returning to

             the office until Tuesday, February 17, 2020.

          8. I returned to the Marshals office on February 17, 2020 and spoke with Ms.

             Maldonado. I paid the required deposit of $3,000.00 and asked Ms.

             Maldonado about the timing of the arrest. Ms. Maldonado, having just

             returned to the office, kindly indicated that although she was engaged in

             answering her accumulated emails, she would review the arrest papers as

             soon as possible and get back to me.

          9. There followed an exchange of correspondence with Ms. Maldonado which

             is attached hereto as EXHIBIT 1. As can be seen, yesterday morning, Ms.

             Maldonado advised me as follows:

             We generally try to schedule a vessel arrest within a week or two once the
             documents and deposit are received, however, there are three active vessel
             arrest cases at the moment in our District.

             To schedule the arrest I will need a set of dates where you and the substitute
             custodian are available the first and second weeks of March. The substitute
             custodian and the plaintiff attorney must be present the day of the arrest. I
             will then pass this information along to the supervisor so he can schedule it.

          10. I replied to Ms. Maldonado, noting her indication that there are three active

             vessel arrest cases at the moment, and respectfully inquiring why that fact

             would delay the arrest of the Barge for up to nearly a month from now.

          11. In response, Ms. Maldona explained as follows:

             The US Marshals Service is responsible for judicial security, fugitive
             apprehension, prisoner transportation as well as executing civil matters. As

                                            3
Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 4 of 26 PageID #: 72


             I explained in my previous email, there are 2 additional vessel arrest cases
             the District is working on and these cases are executed in the order they are
             received. Any civil case that requires the Deputies to travel to a location
             requires coordination with a supervisor. I instructed you to provide
             availability for the first/second weeks of March which is 2 weeks from today
             in an attempt to get the ball rolling.

          12. I replied by noting that “I fully understand, and appreciate, that the Marshals

             Office has many, important responsibilities” and that I would provide dates

             of availability. In the final email in EXHIBIT 1, I provided those dates.

                                   EXIGENT CIRCUMSTANCES

          13. Defendant, Bouchard Transportation Co., Inc., (“Bouchard”), the party who

             ordered the various services rendered by Plaintiff to the Barge, appears to be

             in very severe financial difficulty. Numerous lawsuits for similar unpaid

             debts are currently pending against Bouchard and numerous other vessels in

             this District, the Southern District of New York, the District of New Jersey,

             the Eastern District of Louisiana, the Southern and Western Districts of

             Texas, the Southern District of Mississippi, the District of Delaware, the

             District of Maryland, and the Southern District of Florida.

          14. Bouchard is also subject to Captain of the Port Orders issued by the United

             States Coast Guard in New York and Texas as a result of insufficient

             maintenance and crewing of numerous Bouchard vessels.

          15. On July 11, 2020, several Bouchard crewmembers filed claims for unpaid

             wages against Bouchard in the Southern District of New York in Bailey v.

             Bouchard Transportation Co., Inc., 1:20-cv-0217.

          16. Plaintiff is gravely concerned about the possibility that a bankruptcy filing


                                             4
Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 5 of 26 PageID #: 73


             by Bouchard is imminent. Upon the arrest of the Barge, Plantiff will become

             a secured creditor for its claims. Until the arrest is made, however, Plaintiff

             is merely an unsecured creditor.      Given the great magnitude of claims

             pending against Bouchard, should Bouchard seek bankruptcy protection

             before the Barge is arrested, the chances of Plaintiff being made whole are

             extremely unfavorable.

                                   AUTHORITY TO DEPUTIZE

          17. This Court has the inherent authority to deputize an individual to serve a

             warrant for the arrest of a vessel when the US Marshals Service is unable to

             do so in a

          18. Individuals have been deputized to serve vessel arrest warrants in Dry Bulk

             Singapore Pte Ltd., v. Amis Integrity S.A., 3:19-cv-01671-BR (Oct. 17, 2019,

             D. Or.); Chemoil Corporation v. M/V DARYA VISHNU, 2014 A.M.C. 371,

             2013 WL 6328829 *4 (Dec. 5, 2013, W.D. Wash.)(rejecting vessel owner’s

             argument that appointment of individual to serve warrant of arrest was

             wrongful); Trans-Tec Services, Inc. v. M/V CELESTINA, 3:13-cv-5494 (Oct.

             11, 2013, D. Md.); ATS International Services, Inc. v. Kousa International,

             LLC, Civil Action No. RDB 12-2525 (Aug 23, 2012, D. Md); Williamette

             Production Credit Ass’n v. Kenneth E. Staffenson, 1985 A.M.C. 1511, 1984

             WL 1793 *1 (D. Or. 1984). (collected at EXHIBIT 2).

          19. Similarly, in this District, the Court in Hartman Yacht Maintenance Inc. v.

             M/Y DOC HOLLIDAY, 19-cv-03502 (SJF-AKT), entered an order

             authorizing the substitute custodian to “temporarily seize and secure” the
                                            5
Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 6 of 26 PageID #: 74


             subject vessel until such time as the US Marshal was able to arrest the vessel

             five days later. See Status Report, July 8, 2019 [Docket No. 17], appended

             here as EXHIBIT 3.

                                            CONCLUSION

          20. For the foregoing reasons, Plaintiff, CADDELL DRY DOCK AND REPAIR

             CO., INC., respectfully requests that this Court enter an order deputizing Mr.

             Steven P. Kalil, President of Plaintiff, for the sole purpose of acting in lieu of

             the U.S. Marshal in serving the Warrant for the arrest of the Barge.

          21. Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

             foregoing is true and correct.

            Executed this 20th day of February 2020.




                                          /s/ Simon Harter
                                          SIMON HARTER, ESQ.




                                              6
Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 7 of 26 PageID #: 75




                       EXHIBIT 2
  CaseCorp.
Chemoil 1:20-cv-00685-EK-LB       Document
            v. M/V DARYA VISHNU, Not Reported in15-1   Filed
                                                 F.Supp.2d    02/20/20
                                                           (2013)                       Page 8 of 26 PageID #: 76
2013 WL 6328829, 2014 A.M.C. 371



                  2013 WL 6328829                                                     II. BACKGROUND
    Only the Westlaw citation is currently available.
    United States District Court, W.D. Washington,                In April 2013, STX Corporation sought to purchase fuel for
                      at Tacoma.                                  the Darya Vishnu, a tanker it was chartering. On April 4,
                                                                  2013, it sent an order to Chemoil Corporation's Korea office
         CHEMOIL CORPORATION, Plaintiff,                          to purchase bunker fuel that would be delivered to the Darya
                           v.                                     Vishnu in Panama. The order specified that the sellers' terms
           M/V DARYA VISHNU, its engines,                         and conditions would not apply to the order. The next day,
         tackle and apparel, Defendant in Rem.                    Chemoil emailed STX Corporation an Order Confirmation
                                                                  detailing the purchase. It listed Chemoil Corporation as the
                     No. C13–5494 RBL.                            seller, STX Corporation as the buyer, and the Darya Vishnu
                              |                                   as the ship. It also included Chemoil's Sales Terms and a
                        Dec. 5, 2013.                             link to Chemoil's General Terms and Conditions. The Terms
                                                                  and Conditions included a clause that the fuels delivered by
Attorneys and Law Firms                                           Chemoil were being “sold and delivered on the financial
                                                                  credit of the vessel being supplied” and the promise of the
J. Stephen Simms, M. Scotland Morris, Simms Showers LLP,
                                                                  buyer to pay. [Dkt. # 1, Ex. C]. It noted that Chemoil “shall
Baltimore, MD, James F. Whitehead, III, Seattle, WA, for
                                                                  have the right to assert a maritime lien, attachment, or claim
Plaintiff.
                                                                  against the Vessel” should the buyer fail to pay. [Id.]. The
Eric R. McVittie, Markus B. G. Oberg, Legros Buchanan &           Terms and Conditions specified that the buyer should notify
Paul, Seattle, WA, for Defendant in Rem.                          Chemoil if the creation of a maritime lien on the vessel
                                                                  was prohibited through another contract, such as a charter
                                                                  agreement, and that such a prohibition would require upfront
              ORDER GRANTING MOTION                               payment for the fuel. [Id.]. Chemoil required the buyer to give
             TO DISMISS COUNTERCLAIM                              notice of a no-lien provision within 24 hours of receipt of the
                                                                  Order of Confirmation. [Dkt. # 1, Ex. B].
RONALD B. LEIGHTON, District Judge.
                                                                  On April 19, 2013, the Darya Vishnu arrived in Panama to
                                                                  refuel. Vishnu alleges that, prior to receiving the fuel, the
                   I. INTRODUCTION
                                                                  master of the Darya Vishnu presented the bunker supplier
 *1 THIS MATTER is before the Court on Plaintiff Chemoil          with a letter indicating that Chemoil Corporation did not
Corporation's Motion to Dismiss Defendant in rem M/V              have a maritime lien over the vessel because Vishnu's charter
Darya Vishnu's counterclaim for wrongful arrest [Dkt. #           agreement with STX Corporation prohibited any such liens.
28]. Chemoil supplied the Darya Vishnu with $582,556.65           Chemoil Latin America, Inc. (a separate legal entity from
worth of bunker fuel, which has not been paid for. When           Chemoil Corporation) proceeded to supply the fuel to the
the balance became overdue, Chemoil obtained a warrant            vessel, and the Darya Vishnu left port the next day.
to arrest the vessel while it was harbored in Longview,
Washington. Although no arrest was made because Vishnu            On June 18, 2013, two months after the Darya Vishnu
Shipping Limited (“Vishnu”), the vessel owner, posted a bond      received the fuel and one month after payment was due,
with the Court, Vishnu claims it was wrongfully arrested          counsel for Chemoil notified STX Corporation and Vishnu
because Chemoil did not have a maritime lien and a non-           that payment for the fuel was overdue. [Dkt. # 1, Ex. G].
U.S. Marshall was deputized to serve the arrest warrant.          The notice said that if Chemoil did not receive payment
Chemoil argues that the counterclaim should be dismissed          immediately, it would seek to arrest the Darya Vishnu
because it fails to allege facts showing it acted in bad faith.   at its next arrival at Longview, Washington. Counsel for
For the following reasons, Chemoil's Motion to Dismiss the        Vishnu responded to the email, pointing to the “no-lien”
Counterclaim is GRANTED.                                          letter supplied to Chemoil Latin America, saying that STX
                                                                  Corporation was responsible for payment and that any arrest




 WESTLAW © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  1
  CaseCorp.
Chemoil 1:20-cv-00685-EK-LB       Document
            v. M/V DARYA VISHNU, Not Reported in15-1   Filed
                                                 F.Supp.2d    02/20/20
                                                           (2013)                         Page 9 of 26 PageID #: 77
2013 WL 6328829, 2014 A.M.C. 371

of the Darya Vishnu would be wrongful. [Id.]. Chemoil did           A claim has “facial plausibility” when the party seeking
not receive payment for the fuel.                                   relief “pleads factual content that allows the court to draw
                                                                    the reasonable inference that the defendant is liable for the
 *2 On June 20, 2013, Chemoil sought an arrest warrant from         misconduct alleged.” Id. Although the Court must accept as
the Court, which the Court issued the same day. [Dkt. # 10].        true the Complaint's wellpled facts, conclusory allegations of
The next day, after receiving word from the U.S. Marshal's          law and unwarranted inferences will not defeat an otherwise
Office that it would be unable to serve the warrant for arrest
                                                                    proper Rule 12(b)(6) motion.     Vasquez v. L.A. County, 487
due to being understaffed, Chemoil filed a motion to deputize
James W. Scheel, a Portland, Oregon, legal process server,          F.3d 1246, 1249 (9th Cir.2007);     Sprewell v. Golden State
as a U.S. Marshal for the sole purpose of serving the arrest        Warriors, 266 F.3d 979, 988 (9th Cir.2001). “[A] plaintiff's
warrant on the Darya Vishnu. After speaking with the U.S.           obligation to provide the ‘grounds' of his ‘entitle[ment] to
Marshal's Office, the Court granted the motion. [Dkt. # 17].        relief’ requires more than labels and conclusions, and a
Before the arrest warrant could be served, Vishnu's protection      formulaic recitation of the elements of a cause of action will
and indemnity insurer provided Chemoil with a Letter of             not do. Factual allegations must be enough to raise a right
Undertaking, through which the vessel owners agreed to              to relief above the speculative level.”   Bell Atl. Corp. v.
post security by way of a surety bond in the amount of              Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d
$614,412.31. 1 The bond was filed with the Court, and the           929 (2007) (citations and footnote omitted). This requires a
vessel was never arrested. [Dkt. # 21].                             plaintiff to plead “more than an unadorned, the-defendant-
                                                                    unlawfully-harmed-me accusation.”        Iqbal, 129 S.Ct. at
In its Answer [Dkt. # 24], Vishnu asserted a counterclaim for
                                                                    1949 (citing Twombly ).
wrongful arrest. It argues that Chemoil wrongfully secured
an order from the Court for the arrest of the vessel with
full knowledge that it did not have a maritime lien on the            B. Wrongful Arrest
vessel. The basis for this claim is the letter it alleges it        *3 “The arrest of a vessel in admiralty is an inconvenience to
supplied to the bunker supplier in Panama. It also argues that      which the owners must submit as one caused by the exercise
Chemoil wrongfully secured a Court order for the arrest of
                                                                    of a legal right on the part of the plaintiff.” Stevens v. F/
the vessel when it had knowledge that a non-U.S. Marshal
                                                                    V Bonnie Doon, 655 F.2d 206, 209 (9th Cir.1981) (citations
would be serving the arrest warrant, because only a U.S.
                                                                    omitted). To recover damages for a wrongful arrest, the
Marshal is authorized to arrest a vessel under Fed.R.Civ.P.,
                                                                    attachment must be by bad faith, malice, or gross negligence.
Supp. Admiralty R. C(3)(b)(i).
                                                                    Id.;   Frontera Fruit Co. v. Dowling, 91 F.2d 293, 297 (5th
Chemoil seeks dismissal of the counterclaim, arguing that           Cir.1937) (“The gravamen of the right to recover damages
none of its actions were taken in bad faith, with malice, or with   for wrongful seizure or detention of vessels is the bad faith,
gross negligence (a requirement for a wrongful arrest claim),       malice, or gross negligence of the offending party.”). The law
and that it had no knowledge of the letter until counsel for        of wrongful arrest has been analogized to that of malicious
Vishnu provided it in June 2013.                                    prosecution:



                      III. DISCUSSION                                           Where citizens reasonably disagree
                                                                                concerning their rights, powers, and
   A. Motion to Dismiss Standard                                                privileges, the doors should be kept
Dismissal under Rule 12(b)(6) may be based on either the                        open for an orderly determination
lack of a cognizable legal theory or the absence of sufficient                  of their differences. [T]he advice of
                                                                                competent counsel, honestly sought
facts alleged under a cognizable legal theory.   Balistreri
                                                                                and acted upon in good faith is
v. Pacifica Police Dep't, 901 F.2d 696, 699 (9th Cir.1990).
                                                                                alone a complete defense to an action
A complaint must allege facts to state a claim for relief
                                                                                for malicious prosecution. The same
that is plausible on its face. See Ashcroft v. Iqbal, 556
U.S. 662, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009).



 WESTLAW © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                   2
  CaseCorp.
Chemoil 1:20-cv-00685-EK-LB       Document
            v. M/V DARYA VISHNU, Not           15-1
                                     Reported in      Filed
                                                 F.Supp.2d   02/20/20
                                                           (2013)                        Page 10 of 26 PageID #: 78
2013 WL 6328829, 2014 A.M.C. 371

                                                                   the order confirmation. [Dkt. # 1, Ex. B]. This is a practical
                                                                   requirement, as Chemoil does not want unpaid fuel sailing
             principle controls [in cases alleging                 away from port without any means to recover its cost. Perhaps
             wrongful arrest of a vessel.]                         Chemoil erred this time, and its Terms and Conditions do
                                                                   not apply to this contract. Perhaps STX Corporation and the
                                                                   Darya Vishnu left Panama with unpaid and unsecured fuel.
                                                                   But this is precisely the dispute, and it is not bad faith for
   Frontera Fruit Co., 91 F.2d at 297. Absent a finding that
                                                                   Chemoil to seek to procure payment through a maritime lien
Chemoil had the Darya Vishnu arrested in bad faith, with
                                                                   it honestly believes it possesses.
malice, or with gross negligence, the claim for wrongful arrest
cannot stand.
                                                                    *4 Chemoil also did not act in bad faith, with malice, or
                                                                   with gross negligence when it obtained an Order from this
Vishnu has failed to allege facts showing that Chemoil acted
                                                                   Court deputizing a private legal process server to arrest the
in bad faith, with malice, or with gross negligence either
                                                                   vessel. For one, the vessel was never arrested, as Vishnu
in obtaining an arrest warrant for the Darya Vishnu or in
                                                                   agreed to post a bond with the Court as a means to keep
obtaining an Order from this Court deputizing a private legal
                                                                   the vessel on schedule. But more specifically, that the Court
process server to serve the arrest warrant. STX Corporation
                                                                   issued the Order cannot be construed as bad faith on the part of
ordered fuel from Chemoil Corporation, which Chemoil Latin
                                                                   the party who brought the motion. The U.S. Marshals Office
America supplied to the Darya Vishnu in Panama. Two
                                                                   informed Chemoil and the Court that it would be unable to
months later, Chemoil had not been paid. As a means to
                                                                   serve the warrant due to a staff shortage. Rather than deprive
procure payment, Chemoil approached this Court to obtain a
                                                                   Chemoil of its alleged right to have the vessel arrested, the
warrant to arrest the very vessel it had supplied with the fuel
                                                                   Court fashioned a practical solution to the problem caused
in Panama. The parties do not dispute that the Darya Vishnu
                                                                   by the U.S. Marshals' unavailability. Similar solutions have
received nearly $600,000 of fuel from Chemoil or that the fuel
                                                                   been fashioned in other times of U.S. Marshals' unavailability.
has not been paid for. The only dispute is whether Chemoil
                                                                   Willamette Production Credit Ass'n v. Staffenson, No. 84–
in fact had a maritime lien on the Darya Vishnu (and thus the
                                                                   736–RE, 1984 WL 1793 (D.Or. October 4, 1984); Dkt. #
right to obtain an arrest warrant). Chemoil's honest belief that
                                                                   36, Reply at 12, Order, Trans–Tec Services, Inc. v. M/V
it had a maritime lien over the vessel that it supplied the fuel
                                                                   CELESTINA, 1:01–cv–02819, ECF No. 8 (granting substitute
to does not amount to bad faith, malice, or gross negligence,
                                                                   process ten days after the September 11, 2001 terrorist
even if that belief turns out to be incorrect.
                                                                   attacks). Because Vishnu has failed to plead facts showing
                                                                   that Chemoil acted in bad faith, with malice, or with gross
Vishnu's arguments are not persuasive. It argues that Chemoil
                                                                   negligence, Chemoil's Motion to Dismiss is GRANTED.
was not a party to the underlying transaction of the sale and
purchase of fuel, yet the Order Confirmation and Invoice both
list Chemoil Corporation as the seller. [Dkt. # 1, Exs. B, F].
It argues that Chemoil knew it did not have a maritime lien                             IV. CONCLUSION
on the vessel because the master of the Darya Vishnu gave
Chemoil Latin America a letter saying as much just before          Chemoil's Motion to Dismiss the counterclaim [Dkt. # 28] is
the fuel was bunkered on the vessel. The parties disagree          GRANTED. Vishnu's counterclaim is DISMISSED WITH
as to whether giving the letter to Chemoil Latin America—          PREJUDICE.
a separate legal entity—could put Chemoil Corporation on
notice. But even if it could, Chemoil Corporation asserts that
                                                                   All Citations
this letter does not constitute notice under the Chemoil Terms
and Conditions, which it contends governs this fuel purchase.      Not Reported in F.Supp.2d, 2013 WL 6328829, 2014 A.M.C.
Under the Chemoil Terms, Chemoil requires that the fuel be         371
paid for in advance if there is a no-lien clause placed on the
vessel from a charterer. [Dkt. # 1, Ex. C]. Notice of a no-lien
clause is required by the buyer within 24 hours of receiving




 WESTLAW © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                    3
  CaseCorp.
Chemoil 1:20-cv-00685-EK-LB       Document
            v. M/V DARYA VISHNU, Not           15-1
                                     Reported in      Filed
                                                 F.Supp.2d   02/20/20
                                                           (2013)                    Page 11 of 26 PageID #: 79
2013 WL 6328829, 2014 A.M.C. 371




                                                      Footnotes


1       This figure includes the cost of the fuel plus interest and other costs.


End of Document                                            © 2020 Thomson Reuters. No claim to original U.S. Government Works.




    WESTLAW © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                             4
             Case 3:19-cv-01671-BR Document 13 Filed 10/17/19 Page 1 of 2
    Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 12 of 26 PageID #: 80




      David R. Boyajian, OSB #112582
      Email: dboyajian@schwabe.com
      Kent Roberts, OSB #801010
      Email: ckroberts@schwabe.com
      SCHWABE, WILLIAMSON & WYATT, P.C.
      1211 SW 5th Ave., Suite 1900
      Portland, OR 97204
      Telephone: 503 .222.9981
      Facsimile: 503. 796.2900

             Attorneys for Plaintiff

                                IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF OREGON

                                            PORTLAND DIVISION

      DRY BULK SINGAPORE PTE. LTD.                 )
                                                   )
             Plaintiff,                            )
                                                   )        Case No.: 3:19-cv-1671
      V.                                           )
                                                   )        IN ADMIRAL TY
      Amis Integrity S.A. in personam and          )
      MN AMIS INTEGRITY (IMO 9732412)              )
      her engines, freights, apparel,              )
      appurtenances, tackle, etc., in rem,         )
                                                   )
             Defendant.


              ORDER DEPUTIZING CALEY KARRICK TO SERVE WAR OF ARREST
                          ONBEHALFOFTHEUSMARSHALL

             Upon the Motion of Plaintiff, DRY BULK SINGAPORE PTE. LTD., for to deputize Caley

      Karrick to serve the Warrant of Arrest issued by this Court on the vessel AMOS INTEGRITY, on

      behalf of the United States Marshal, and good cause appearing therefore, it is hereby:




                                                                                  SCHWABE, WILLIAMSON & WYATT, P.C.
Page 1 -   ORDER,                                                                           Attorneys at Law
                                                                                      1211 SW 5th Ave., Suite 1900
                                                                                           Portland, OR 97204
                                                                                        Telephone: 503.222.9981
                                                                                           Fax: 503.796.2900
             Case 3:19-cv-01671-BR Document 13 Filed 10/17/19 Page 2 of 2
    Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 13 of 26 PageID #: 81




              ORDERED that Plaintiffs Motion is granted, and Caley Karrick is hereby deputized to

      serve the Warrant of Arrest issued by this Court on the MN AMIS INTEGRITY (IMO 9732412),

      on behalf of the US Marshall for the District of Oregon, and it is further

              ORDERED that Caley Karrick shall report the results of the arrest to the US Marshall for

      the District of Oregon and file a return of service with this Court following service of the Warrant

      of Arrest.
                                             ~
      SIGNED at Portland, Oregon this )   i' day of October, 2019.



      Presented by:

      David R. Boyajian, OSB #112582
      Email: dboyajian@schwabe.com
      Kent Roberts, OSB #801010
      Email: ckroberts@schwabe.com
      SCHWABE, WILLIAMSON & WYATT, P.C.
      1211 SW 5th Ave., Suite 1900
      Portland, OR 97204
      Telephone: 503.222.9981
      Facsimile: 503.796.2900

      Attorneys for Pla inti.ff




                                                                                   SCHWABE, WILLIAMSON & WYATT, P.C.
Page 3 -    ORDER ,                                                                          Attorneys at Law
                                                                                       1211 SW 5th Ave., Suite 1900
                                                                                            Portland, OR 97204
                                                                                         Telephone: 503.222.9981
                                                                                            Fax: 503.796.2900
Case 1:20-cv-00685-EK-LB
        Case 3:13-cv-05494-RBL
                          Document
                               Document
                                   15-1 Filed
                                         36-2 02/20/20
                                               Filed 10/11/13
                                                        Page 14
                                                              Page
                                                                of 261 PageID
                                                                       of 1   #: 82



                           IN THE UNITED STATieS''.DISTRJQT:UOURT
                              FOR THE DIS!l'RlCT
                                         -., ,·.I'. OF MARYLAND
                                      Northern Division
                                               ,.,...,,,..._1       i"\   1
                                                I_'
TRANS-TEC SERVICES, INC.,                                       *
                                                                                  Civil Action No.
        V.
                                                                *
MN CELESTINA                                                    *                 IN ADMIRALTY
her engines, freights, tackle
and apparel,                                                    *
        Defendant in rem.                                       *
        *      *       *        *      *       *                *             *   *      *      *

                     ORDER GRANTING MOTION FOR SERVICE OF
                   ARREST WARRANT ·BY PRIVATE PROCESS SERVICE

       Upon considering plaintiffs motion for an Order that the warrant for arrest of the Vessel

issued herein be served by private process, this Court:

       GRANTS the motion, and ORDERS that, plaintiffs' counsel, J. Stephen Simms, W.

Charles Bailey, Jr. or their designate, is appointed to effect service of the warrant in place of the

United States Marshal; and further

       ORDERS that plaintiffs shall bear all costs of service and promptly cause a return of

service to be filed with this Court and report filed with the Marshal.

       SO ORDERED September 21, 2001.
Case 1:20-cv-00685-EK-LB
        Case 3:13-cv-05494-RBL
                          Document
                               Document
                                   15-1 Filed
                                         36-3 02/20/20
                                               Filed 10/11/13
                                                        Page 15
                                                              Page
                                                                of 261 PageID
                                                                       of 1   #: 83
         Case 1:12-cv-02525-RDB Document 7 Filed 08/23/12 Page 1 of 1
            Case 1:12-cv-02525-RDB Document 3-2 Filed 08/23/12 Page 1 of 1


                              1N THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
                                         Baltimore Division

   ATS International Services, Inc.

          Plaintiff,                                    *      Civil Action No. ROB 12-2525

   V.                                                   *
   Kousa International, LLC, el al.,                    *
          Defendant and Garnishees.                     *
                  *       *              *      *       *              *

                   ORDER GRANTING MOTI01 FOR APPOlNTMENT FOR
                    SERVICE OF WRJTS OF MARITIME CARN1SH.t'1E T

          Plaintiff having moved for an Order pursuant to Fed. R. Civ. P. 4 ( c)(2), Supplemental

   Rule B(l)(c)(ii) and Supplemental Rule C(J)(b)(ii) appointing J. Stephen Simms or any other

   qualified person appointed by him, to serve the warrant of arrest, process of maritime

   garnishment and any supplemental process in this matter, and it appearing that such appointment

   will result in substantial economies in time and expense,

          NOW, on motion of Plaintiff, it is hereby,

          ORDERED, that J. Stephen Simms or any other person at least 18 years of age and not a

   party to this action, appointed by him be and hereby is, appointed to serve the Warrant of Arrest

   and Process of Maritime Attachment, and a copy of the Verified Complaint as issued in this case.
                                          A.14
          DO E AND ORDERED this J.5kyof August, 2012.




                                                 UNITED STATES DISTRICT JUDGE
  Case 1:20-cv-00685-EK-LB
Willamette                             Document
           Production Credit Ass'n v. Staffenson, Not15-1   Filed
                                                      Reported     02/20/20
                                                               in F.Supp. (1984) Page                16 of 26 PageID #: 84
1985 A.M.C. 1511

                                                                      The Order was issued in response to plaintiff's assertion that
                                                                      the United States Marshal had no available personnel and that
                    1984 WL 1793
                                                                      the warrant of arrest and process ‘must be served before the
        United States District Court, D. Oregon.
                                                                      vessel departs Coos Bay.’
             WILLAMETTE PRODUCTION
           CREDIT ASSOCIATION, Plaintiff,                             At the hearing on this matter, counsel for defendant Garza
                             v.                                       abandoned certain of his challenges to the arrest order. As
                                                                      noted at the hearing, those challenges would not require that
      KENNETH E. STAFFENSON and W. JEAN
                                                                      the arrest order be vacated in any event. Plaintiff is entitled to
      STAFFENSON, individually; ARCTIC SEA,
                                                                      cure a deficient verification by amending its complaint. See,
      INC.; F/V JULEAN, INC.; and JULEAN II
                                                                      e.g., Amstar Corp. v. Alexandros T., 1977 AMC 537 (D. Md.
     FISHERIES, INC., in personam; and the Oil                        1977). The absence of my signature from the copy of the arrest
     Screw ARTIC SEA, Official No. 527 001, her                       order left on the vessel is also an insufficient reason to vacate
     engines, tackle, etc.; the Oil Screw JULEAN,                     the arrest order.
     Official No. 297 236, her engines, tackle, etc.;
    and the Oil Screw JULEAN II, Official No. 536                     Defendant's remaining argument is that only the federal
   809, her engines, tackle, etc., in rem, Defendants.                marshal may execute process. The Federal Rules of Civil
                                                                      Procedure apply in cases of maritime attachment except
                    Civil No. 84–736–RE.                              to the extent they are inconsistent with the Supplemental
                               |                                      Rules governing admiralty claims. See Fed. R. Civ. P. A
                       October 4, 1984.                               (Supplemental Rules for Admiralty and Maritime Claims);

Attorneys and Law Firms                                                  Alyeska Pipeline Service Co. v. Vessel BAY RIDGE, 703
                                                                      F.2d 381 (9th Cir. 1983). Fed. R. Civ. P. 4(c)(1) provides
C. Kent Roberts Parks, Montague, Allen & Greif 1200                   for service of process by a marshal ‘or by a person specially
Jackson Tower Portland, Oregon 97205, for plaintiff.                  appointed for that purpose.’ Defendant correctly points out
                                                                      that the relevant provisions of the Supplemental Rules only
Floyd A. Fredrickson Williams, Fredrickson, Stark, Hiefield,          refer to service by the marshal.
Norville & Weisensee, P.C. 775 Boise Cascade Building 1600
S.W. Fourth Avenue Portland, Oregon 97201, for defendant              Proposed amendments to the Supplemental Rules would
ARCTIC SEA.                                                           make it clear that service must be made by a marshal. See
                                                                      Culp, Charting a New Course: Proposed Amendments to the
William F. White Six Ten S.W. Alder, Suite 400 Portland,
                                                                      Supplemental Rules for Admiralty Arrest and Attachment, 15
Oregon 97205, for intervening plaintiff, YAQUINA BAY
                                                                      J. Mar. L. & Com. 387–89 (1984). I conclude, however, that
MARINE SUPPLY, INC.
                                                                      Fed. R. Civ. P. 4(c)(1) is consistent with the Supplemental
                                                                      Rules in their present form, and that service of process by the
                                                                      sheriff of Coos County is permissible under the circumstances
                           ORDER
                                                                      of this case. See 7A J. Moore & A. Pelaez, Moore's Federal
REDDEN, Judge:                                                        Practice ¶ E.07 (2d ed. 1983).

 *1 This is an action to foreclose preferred ship mortgages.          IT IS THEREFORE ORDERED that defendant's motion to
Defendant G.L. Garza, owner of the vessel ARTIC SEA, has              vacate the arrest of the ARCTIC SEA is DENIED.
requested that the court vacate the order arresting the vessel.

On August 22, 1984, the court issued an Order authorizing             All Citations
the sheriff of Coos County, Oregon to arrest the ARTIC SEA.
                                                                      Not Reported in F.Supp., 1984 WL 1793, 1985 A.M.C. 1511

End of Document                                                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.




 WESTLAW © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                         1
Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 17 of 26 PageID #: 85




                        EXHIBIT 1
Network Solutions Fwd_ RE_ Caddell Dry Dock and Repair Co_ v_ Bo...                        https://webmail6.networksolutionsemail.com/appsuite/v=7.10.0-27.2019...
              Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 18 of 26 PageID #: 86


            Simon Harter <sharter@harterlaw.com>                                                                                            2/19/2020 9:40 PM

            Fwd: RE: Caddell Dry Dock and Repair Co. v. Bouchard
            Transportation Co., Inc 1:20-cv-00685
            To Maldonado, Minerva (USMS) <minerva.maldonado@usdoj.gov> Copy
            Jeff Nuccetelli <jeff.nuccetelli@usdoj.gov>


            Dear Ms. Maldonado:

            I refer to our previous correspondence copied below.

            Mr. Steven Kalil, President of Caddell Dry Dock and Repair Co., Inc. (Plaintiff and Substitute Custodian) and I, as
            counsel for Plaintiff, are available every date during the first two weeks of March except March 4, 2020.

            If you would kindly advise the date selected for service of the warrant of arrest, I will immediately advise Mr.
            Kalil.

            Thank you for your kind attention and assistance.

            Respectfully,
            Simon Harter


                                                                LAW OFFICES OF SIMON HARTER, ESQ.
                                                                               New Jersey Office
                                                           30 Nassau Street – Suite 460 , Princeton, New Jersey 08542
                                                                    Tel: 609.688.8330 / Fax: 609.688.8331
                                                                                New York Office
                                                          225 West 34th Street – 9th Floor, New York, New York 10122
                                                                    Tel: 212.979.0250 / Fax: 212.979.0251

                                                                       Emergency Contact: 609.577.4853
                                                                        Website: www.harterlaw.com

                                                                           Confidential Communication
              This communication, including any attachments, may be subject to attorney-client privilege and/or attorney work-product protection. If you are not the
               intended recipient, please contact us immediately by return email or at the telephone numbers indicated above. Any unauthorized use, dissemination,
                          distribution or reproduction of this message by unintended recipients may be unlawful. Thank you for your kind cooperation.

                 ---------- Original Message ----------
                 From: Simon Harter <sharter@harterlaw.com>
                 To: "Maldonado, Minerva (USMS)" <Minerva.Maldonado@usdoj.gov>
                 Date: February 19, 2020 at 5:11 PM
                 Subject: RE: Caddell Dry Dock and Repair Co. v. Bouchard Transportation Co., Inc 1:20-cv-00685

                 Dear Ms. Maldonado -

                 Please know that I fully understand, and appreciate, that the Marshals Office has many, important
                 responsibilities. I hope that was reflected in my demeanor when we met on Tuesday.

                 I have asked the Substitute Custodian for his available dates in the first two weeks of March and will reply to
                 you, with his available dates and mine, as soon as I hear back from him.

                 Thank you.

                 Respectfully,




1 of 6                                                                                                                                                        2/20/2020, 8:22 AM
Network Solutions Fwd_ RE_ Caddell Dry Dock and Repair Co_ v_ Bo...                      https://webmail6.networksolutionsemail.com/appsuite/v=7.10.0-27.2019...
              Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 19 of 26 PageID #: 87


                Simon Harter




                                                                 LAW OFFICES OF SIMON HARTER, ESQ.
                                                                                New Jersey Office
                                                            30 Nassau Street – Suite 460 , Princeton, New Jersey 08542
                                                                     Tel: 609.688.8330 / Fax: 609.688.8331
                                                                                 New York Office
                                                           225 West 34th Street – 9th Floor, New York, New York 10122
                                                                     Tel: 212.979.0250 / Fax: 212.979.0251

                                                                        Emergency Contact: 609.577.4853
                                                                         Website: www.harterlaw.com

                                                                            Confidential Communication
                 This communication, including any attachments, may be subject to attorney-client privilege and/or attorney work-product protection. If you are not
                      the intended recipient, please contact us immediately by return email or at the telephone numbers indicated above. Any unauthorized use,
                    dissemination, distribution or reproduction of this message by unintended recipients may be unlawful. Thank you for your kind cooperation.

                    On February 19, 2020 at 4:23 PM "Maldonado, Minerva (USMS)" <Minerva.Maldonado@usdoj.gov> wrote:

                    Mr. Harter,


                    The US Marshals Service is responsible for judicial security, fugitive apprehension, prisoner
                    transportation as well as executing civil matters. As I explained in my previous email, there are
                    2 additional vessel arrest cases the District is working on and these cases are executed in the
                    order they are received. Any civil case that requires the Deputies to travel to a location requires
                    coordination with a supervisor. I instructed you to provide availability dates for the first/second
                    weeks of March which is 2 weeks from today in an attempt to get the ball rolling.


                    Respectfully,


                    Minerva Maldonado
                    Assistant Administrative Officer
                    United States Marshals Service
                    Eastern District of New York
                    Office (718) 473-3011


                    -Enjoy the little things-




2 of 6                                                                                                                                                      2/20/2020, 8:22 AM
Network Solutions Fwd_ RE_ Caddell Dry Dock and Repair Co_ v_ Bo...              https://webmail6.networksolutionsemail.com/appsuite/v=7.10.0-27.2019...
              Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 20 of 26 PageID #: 88



                    From: Simon Harter [mailto:sharter@harterlaw.com]
                    Sent: Wednesday, February 19, 2020 3:35 PM
                    To: Maldonado, Minerva (USMS) <MMaldonado@usms.doj.gov>
                    Subject: RE: Caddell Dry Dock and Repair Co. v. Bouchard Transporta on Co., Inc 1:20‐cv‐00685


                    Dear Ms. Maldonado -


                    I mean no disrespect, but would you please explain why it will take up to nearly a month from now for the
                    barge to be arrested? You mentioned that there are three active vessel cases, but I do not understand
                    why that has such an impact on serving the arrest documents on the barge. I would be grateful for your
                    further comments.


                    Respectfully,
                    Simon Harter




                                                             LAW OFFICES OF SIMON HARTER, ESQ.
                                                                          New Jersey Office
                                                      30 Nassau Street – Suite 460 , Princeton, New Jersey 08542
                                                                Tel: 609.688.8330 / Fax: 609.688.8331
                                                                            New York Office
                                                      225 West 34th Street – 9th Floor, New York, New York 10122
                                                                Tel: 212.979.0250 / Fax: 212.979.0251

                                                                   Emergency Contact: 609.577.4853
                                                                     Website: www.harterlaw.com

                                                                          Confidential Communication
                          This communication, including any attachments, may be subject to attorney-client privilege and/or attorney work-product
                        protection. If you are not the intended recipient, please contact us immediately by return email or at the telephone numbers
                     indicated above. Any unauthorized use, dissemination, distribution or reproduction of this message by unintended recipients may
                                                              be unlawful. Thank you for your kind cooperation.

                        On February 19, 2020 at 9:32 AM "Maldonado, Minerva (USMS)" <Minerva.Maldonado@usdoj.gov>
                        wrote:

                        Good morning Mr. Harter,


                        We generally try to schedule a vessel arrest within a week or two once the documents and
                        deposit are received, however, there are three active vessel arrest cases at the moment in
                        our District.


                        To schedule the arrest I will need a set of dates where you and the substitute custodian are
                        available the first and second weeks of March. The substitute custodian and the plaintiff
                        attorney must be present the day of the arrest. I will then pass this information along to the
                        supervisor so that he can schedule it.




3 of 6                                                                                                                                        2/20/2020, 8:22 AM
Network Solutions Fwd_ RE_ Caddell Dry Dock and Repair Co_ v_ Bo...     https://webmail6.networksolutionsemail.com/appsuite/v=7.10.0-27.2019...
              Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 21 of 26 PageID #: 89



                        Respectfully,


                        Minerva Maldonado
                        Assistant Administrative Officer
                        United States Marshals Service
                        Eastern District of New York
                        Office (718) 473-3011


                        -Enjoy the little things-




                        From: Simon Harter [mailto:sharter@harterlaw.com]
                        Sent: Wednesday, February 19, 2020 8:17 AM
                        To: Maldonado, Minerva (USMS) <MMaldonado@usms.doj.gov>
                        Subject: Re: Caddell Dry Dock and Repair Co. v. Bouchard Transporta on Co., Inc 1:20‐cv‐00685


                        Dear Ms. Maldonado -


                        Thank you for your email.


                        I was not aware that certified copies were required. I will make arrange to have a court filing service
                        go to the Clerk of Court's office to get certified copies of the documents and bring them to your
                        office. (I would do it myself, but I have to be in my Princeton, NJ office today). As soon as that is
                        accomplished, I will arrange for Mr. Steven Kalil of Caddell Dry Dock & Repair Company, Inc., (the
                        plaintiff and substitute custodian) and I to be available for a phone call with you to discuss the arrest.


                        I appreciate your guidance, and I fully appreciate you have undoubtedly returned to quite a pile of
                        work. But I would not be properly representing my client if I did not mention that there is urgency
                        here because the defendant, Bouchard Transportation Company, may be filing for bankruptcy
                        protection imminently and it is therefore of critical importance to Caddell that the arrest occur before
                        any such filing.


                        Thank you very much.


                        Respectfully,
                        Simon Harter




4 of 6                                                                                                                      2/20/2020, 8:22 AM
Network Solutions Fwd_ RE_ Caddell Dry Dock and Repair Co_ v_ Bo...               https://webmail6.networksolutionsemail.com/appsuite/v=7.10.0-27.2019...
              Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 22 of 26 PageID #: 90




                                                               LAW OFFICES OF SIMON HARTER, ESQ.
                                                                            New Jersey Office
                                                        30 Nassau Street – Suite 460 , Princeton, New Jersey 08542
                                                                  Tel: 609.688.8330 / Fax: 609.688.8331
                                                                              New York Office
                                                        225 West 34th Street – 9th Floor, New York, New York 10122
                                                                  Tel: 212.979.0250 / Fax: 212.979.0251

                                                                     Emergency Contact: 609.577.4853
                                                                       Website: www.harterlaw.com

                                                                            Confidential Communication
                           This communication, including any attachments, may be subject to attorney-client privilege and/or attorney work-product
                          protection. If you are not the intended recipient, please contact us immediately by return email or at the telephone numbers
                         indicated above. Any unauthorized use, dissemination, distribution or reproduction of this message by unintended recipients
                                                              may be unlawful. Thank you for your kind cooperation.

                            On February 18, 2020 at 4:33 PM "Maldonado, Minerva (USMS)"
                            <Minerva.Maldonado@usdoj.gov> wrote:

                            Good afternoon Mr. Harter,


                            I was able to review the vessel arrest documents, however I’m going to need more copies. I will
                            need the following:


                            A. (2) certified copies of the Verified Complaint
                            B. (2) certified copies of the order Appointing Substitute Custodian
                            C. (2) certified copies of the order Authorizing Issuance of Warrant of Vessel Arrest
                            D. (1) certified copy of the Warrant to Seize a Vessel


                            Once all of the documents are received I will coordinate with you and the substitute custodian to
                            schedule a date for the arrest.


                            Respectfully,


                            Minerva Maldonado
                            Assistant Administrative Officer
                            United States Marshals Service
                            Eastern District of New York
                            Office (718) 473-3011


                            -Enjoy the little things-




5 of 6                                                                                                                                         2/20/2020, 8:22 AM
Network Solutions Fwd_ RE_ Caddell Dry Dock and Repair Co_ v_ Bo...   https://webmail6.networksolutionsemail.com/appsuite/v=7.10.0-27.2019...
              Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 23 of 26 PageID #: 91




                 • image001.jpg (2 KB)




6 of 6                                                                                                                   2/20/2020, 8:22 AM
Case 1:20-cv-00685-EK-LB Document 15-1 Filed 02/20/20 Page 24 of 26 PageID #: 92




                        EXHIBIT 3
Case
 Case1:20-cv-00685-EK-LB  Document
      2:19-cv-03502-SJF-AKT        15-117 Filed
                             Document      Filed02/20/20
                                                 07/08/19 Page
                                                           Page251 of
                                                                   of 26 PageID#:#:81
                                                                      2 PageID      93



 CHALOS & CO, P.C.
 Attorneys for Plaintiff
 Michael G. Chalos, Esq.
 Briton P. Sparkman, Esq.
 Melissa Patzelt-Russo, Esq.
 55 Hamilton Avenue
 Oyster Bay, NY 1771
 (516) 714-4300

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
 HARTMAN YACHT MAINTENANCE, INC.,                               :   19-cv-03502-SJF-AKT
                                                                :
                            Plaintiff,                          :   IN ADMIRALTY
                                                                :
                   -v-                                          :   STATUS REPORT TO
                                                                :   COURT ON SEIZURE AND
                                                                :   EXECUTION OF ARREST
 M/Y DOC HOLLIDAY, Official No. 1257841,                        :   WARRANT ON VESSEL
 her engines, tackle and appurtenances in rem,                  :
 and Sebastian Monte, in personam;                              :
                                                                :
                            Defendants.                         :
 ---------------------------------------------------------------X

         COMES NOW Plaintiff, HARTMAN YACHT MAINTENANCE, INC. (hereinafter

 “Plaintiff”), by and through undersigned counsel, and provides the following notice and status

 update to the Court:

         1.       On the evening of July 3, 2019, pursuant to this Court’s Order (DE 16)

 authorizing the Substitute Custodian, National Maritime Services Inc. to temporarily seize and

 secure the M/Y DOC HOLLIDAY (Official No. 1257841, Hull No. XAX55189G506), the

 Vessel was seized and secured.           That evening courtesy copies of all filings and Court orders

 were provided to the Owner and in personam Defendant, Sebastian Monte; and

         2.       Today, July 8, 2019 at approximately 11:15 AM, Deputy Michael Morpeau

 executed the Warrant of Arrest on behalf of the U.S. Marshal Service on the Vessel, in rem. A

                                                     1
Case
 Case1:20-cv-00685-EK-LB  Document
      2:19-cv-03502-SJF-AKT        15-117 Filed
                             Document      Filed02/20/20
                                                 07/08/19 Page
                                                           Page262 of
                                                                   of 26 PageID#:#:82
                                                                      2 PageID      94



 copy of the executed USM-285 form will be filed by the U.S. Marshal Service consistent with

 the local practices and procedures of the Court.

        3.      Consistent with this Court’s July 1, 2019 Order, custody of the Vessel remains

 with National Maritime Services Inc. as the authorized substitute custodian for the safekeeping

 of the Vessel. DE 12.

 Date: July 8, 2019                           Respectfully Submitted,

                                              CHALOS & CO, P.C.

                                              /s/ Briton P. Sparmkman
                                              Michael G. Chalos, Esq.
                                              Briton P. Sparkman, Esq.
                                              Melissa Patzelt-Russo, Esq.
                                              55 Hamilton Avenue
                                              Oyster Bay, NY 11771
                                              Telephone: 516-714-4300
                                              Facsimile: 516-750-9051
                                              michael.chalos@chaloslaw.com
                                              bsparkman@chaloslaw.com
                                              mrusso@chaloslaw.com




                                                    2
